Jason Bames

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Plaintiff In Pro Per

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J'AN 1 6 2018

United Scates Bankruptc_y Gourt
San Jose, Californla

UNITED STATES BANKRUPTCY COURT

NORTHERN DISTRICT OF CALIFORNIA

ANTHONY NGUYEN, Debtor )

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CASE NO. 17-51644 MEH

CREDITOR JASON BARNES’ NOTICE OF
MOTION AND MOTION TO EXTEND THE
DEADLINES TO OBJECT TO
BANKRUPTCY DISCHARGE OF DEBT '
AND TO FILE AN ADVERSE ACTION;
POINTS AND AUTHORTIES; JASON
BARNES’ DECLARATION

FRBP RULES 4004 & 4007
DATE: FEBRUARY 15, 2018

TIME: 10:30am
DEPT: Judge Hammond

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TO THE PARTIES AND THEIR ATTORNEYS OF RECORD:

On January 16, 2018, Creditor Jason Barnes moves the court to allow the deadlines to
object to the discharge of Debtor’s debt and the deadline to file an Adversary Action be
continued for 60 days. This Motion Will be based on FRBP Rules 4004 and 4007, and the fact
that Debtor Nguyen did not appear for a properly noticed Rule 2004 exam until last Friday
January 12, 2018 and the debtor has failed to produce any of the requested documents. Debtor
Nguyen had stated in the August 31, 2017 creditor meeting that he Was in possession of
documents related to a business partnership entered into in 2015. It has taken over three months
to get the debtor to appear and unfortunately he has yet to provide any documents to support his

claim that $280,000 Was lost thn the business startup venture failed.

The Motion Will be based on this Notice, the accompanying Points and Authorities, my

accompanying Declaration and the Docket and pleadings filed thus far in this case.

POINTS AND AUTHORITIES

On motion of a party in interest, after hearing on notice, the court may for cause extend the
time fixed under this subdivision. The motion shall be filed before the time has expired. (F ederal
Rules of Bankruptcy Procedure [FRBP] Rules 4004, 4007.) A Creditor demonstrates “cause”
justifying an extension of the discharge/dischargeability objection deadline where, at the time it
filed its motion for extension of time to object to discharge/dischargeability, creditor had not yet
obtained the prefiling discovery, via Rule 2004 examination, necessary to a fairly considered
determination of Whether to commence an adversary proceeding, principally because of debtor’s
change of counsel, debtor's counsel's non-responsiveness, and attendant disputes between
attorneys. (In re McCormack, Bkrtcy.D.Conn.2000, 244 B.R. 203.) Where referee found that
delay in obtaining facts for filing of objections to discharge of bankrupt Was attributable to
bankrupt and not to trustee, Who secured several extensions of time to file his objections and
specifications but inadvertently let last date pass, and repeated postponements of hearing,
obtained by bankrupt and his attorney, undoubtedly contributed to this failure, referee properly
exercised his discretion in granting extension of time for filing obj ections. (In re Meckler,

D.C.Md.1957, 156 F.supp. 20.)

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¢JASON BARNES’ DECLARATION
I, Jason Barnes, Declare as follows:
lam over the age of 18, a Creditor in the above-captioned action, and can and will testify
truthfully in a Court of law based on personal knowledge to the facts as set forth below.
I am a listed Creditor in the above-captioned action.

Debtor Nguyen has admitted in his chapter 7 petition to owing me money on two notes that
total $135,000.

Debtor Nguyen testified in the 341 meeting that the money he borrowed from me was
used for a business startup called California Croissant Bakehouse and Cafe LLC.

Debtor Nguyen testified that his business partner embezzled approx $50,000 that he paid
for his portion of the rent owed from April of 201 5 to October of 2015.

Debtor Nguyen testified that the landlord terminated the lease and locked the tenants out
of the business which was cause for another $50,000 in tenant improvements to be lost.

Debtor Nguyen testified that he was able to remove the $50,000 in equipment he had
purchased for the business but that was stolen (along with the trailer it was being stored in) from
the parking lot of the warehouse for which Mr. Nguyen was the leaseholder.

I requested in my 2004 examination motion that Mr. Nguyen provide a copy of the
partnership agreement he signed with his partner Viktoria Le. Debtor Nguyen testified in
the 341 meeting that he had a signed copy of the partnership agreement in his possession,
however in the 2004 examination, debtor Nguyen stated that all of the business documents
he had were in a safe on the premises that were leased for the business and when/he was
locked out of the business, his partner or the owner of the property removed all of the
documentation and did not return them to debtor Nguyen.

l requested in the 2004 motion that Mr. Nguyen provide proof of the rent payments he
made to Viktoria Le. Debtor Nguyen stated in the 2004 examination that he paid for
everything with cash which is hard to believe since debtor Nguyen stated that approx $280,000

was spent.

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I requested that Mr. Nguyen show proof of any purchase that were made for the business
he opened that were greater than $1000. Again, the debtor was unable to verify the purchases of
approx $67,000 of equipment for the business.

Mr. Nguyen did not provide any of those documents prior to the scheduled 2004
examination which has made it difficult for me to file the objection to discharge since many of
the facts l wanted to expose have been and still are concealed by the debtor.

The debtor did not comply with either of the dates that were ordered for the first and

l second requests for the 2004 exam and left me with only a few days to prepare a complaint.

I would like to request that I be given another 60 days to file the objection to discharge of

this debt.

I declare under penalty of perjury of the State of California and the United States that the
foregoing is true and correct, except as to matters stated upon information and belief and as to the
latter I believe them to be true based on information I currently have.

Dated January 16, 2018 in Santa Clara, CA /M/'//LA/C/l/

Creditor Jason Barnes

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